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                      UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

IN RE:                                   §
 ALEXANDER E. JONES                      §      CASE NO. 22-33553
                                         §      Chapter 11 (Subchapter V)
                                         §
                                         §      CHAPTER 11
         DEBTOR.                         §

           NOTICE OF APPEARANCE, REQUEST FOR ALL NOTICES,
         AND DEMAND FOR SERVICE OF ALL PLEADINGS AND FILINGS

             PLEASE TAKE NOTICE that the undersigned Subchapter V trustee in

the related bankruptcy case of Free Speech Systems, LLC (Case No. 22-60043) appears

as a party in interest in the above captioned case pursuant to Section 1109(b) of Title 11

of the United States Code (“Bankruptcy Code”) and Rule 9010 of the Federal Rules

of Bankruptcy Procedure (“Bankruptcy Rules”) and hereby submits this notice of

appearance and requests notice of all hearings and conferences herein and makes

demand for service of all papers herein, including all papers and notices pursuant to

Bankruptcy Rules 2002, 3017, and 9007. All notices given or required shall be served

upon:

                         Melissa A. Haselden
                         State Bar No. 00794778
                         Haselden Farrow PLLC
                         700 Milam, Suite 1300
                         Pennzoil Place
                         Houston, Texas 77002
                         Telephone: (832) 819-1149
                         Facsimile: (866) 405-6038
                         Email:mhaselden@haseldenfarrow.com

         Please take further notice that the foregoing request includes notices and

 papersreferred to in the Bankruptcy Rules and includes, without limitation, any

 plans of reorganization, notices of hearings, orders, pleadings, motions, applications,
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   complaints, demands, requests, petitions, disclosure statements, memoranda, briefs

   and any other documents brought before this Court with respect to these proceedings,

   whether formal or informal, whether written or oral, whether transmitted or conveyed

   by mail, hand delivery, telephone, telecopier, telegraph, or telex.

   DATED: December 6, 2022                            Respectfully submitted,

                                                      HASELDEN FARROW, PLLC

                                                      By: /s/ Melissa A. Haselden    t
                                                      MELISSA A. HASELDEN
                                                      State Bar No. 00794778
                                                      700 Milam, Suite 1300
                                                      Pennzoil Place
                                                      Houston, Texas 77002
                                                      Telephone: (832) 819-1149
                                                      Facsimile: (866) 405-6038
                                                      Email: mhaselden@haseldenfarrow.com
                                                      SUBCHAPTER V TRUSTEE FOR DEBTOR
                                                      FREE SPEECH SYSTEMS, LLC

                                              CERTIFICATE OF SERVICE
        I hereby certify that on December 6, 2022, a copy of the foregoing Notice of Appearance
was filed with the Court and served electronically upon those parties registered to receive
electronic notice via the Court’s CM/ECF System.

22-33553 Notice will be electronically mailed to:
Raymond William Battaglia on behalf of Creditor Free Speech Systems, LLC
rbattaglialaw@outlook.com, rwbresolve@gmail.com

Ryan E Chapple on behalf of Creditor Carlee Soto Parisi
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor Carlos M Soto
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor David Wheeler
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor Donna Soto
rchapple@cstrial.com, aprentice@cstrial.com


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Ryan E Chapple on behalf of Creditor Francine Wheeler
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor Ian Hockley
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor Jacqueline Barden
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor Jennifer Hensel
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor Jillian Soto-Marino
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor Mark Barden
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor Nicole Hockley
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor Robert Parker
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor William Aldenberg
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor William Sherlach
rchapple@cstrial.com, aprentice@cstrial.com

Vickie L Driver on behalf of Debtor Alexander E. Jones
Vickie.Driver@crowedunlevy.com, elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

Shelby A Jordan on behalf of Debtor Alexander E. Jones
cmadden@jhwclaw.com

Jarrod B. Martin on behalf of Creditor Leonard Pozner
jarrod.martin@chamberlainlaw.com,
Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;ginger.davis@chamberlainl
aw.com

Jarrod B. Martin on behalf of Creditor Marcel Fontaine
jarrod.martin@chamberlainlaw.com,
Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;ginger.davis@chamberlainl
aw.com

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Jarrod B. Martin on behalf of Creditor Neil Heslin
jarrod.martin@chamberlainlaw.com,
Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;ginger.davis@chamberlainl
aw.com

Jarrod B. Martin on behalf of Creditor Scarlett Lewis
jarrod.martin@chamberlainlaw.com,
Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;ginger.davis@chamberlainl
aw.com

Jarrod B. Martin on behalf of Creditor Veronique De La Rosa
jarrod.martin@chamberlainlaw.com,
Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;ginger.davis@chamberlainl
aw.com

Avi Moshenberg on behalf of Creditor Leonard Pozner
avi.moshenberg@mhllp.com, patricia.flores@mhllp.com

Avi Moshenberg on behalf of Creditor Marcel Fontaine
avi.moshenberg@mhllp.com, patricia.flores@mhllp.com

Avi Moshenberg on behalf of Creditor Neil Heslin
avi.moshenberg@mhllp.com, patricia.flores@mhllp.com

Avi Moshenberg on behalf of Creditor Scarlett Lewis
avi.moshenberg@mhllp.com, patricia.flores@mhllp.com

Avi Moshenberg on behalf of Creditor Veronique De La Rosa
avi.moshenberg@mhllp.com, patricia.flores@mhllp.com

Ha Minh Nguyen on behalf of U.S. Trustee US Trustee
ha.nguyen@usdoj.gov

Jayson B. Ruff on behalf of U.S. Trustee US Trustee
jayson.b.ruff@usdoj.gov

Christina Walton Stephenson on behalf of Debtor Alexander E. Jones
Crissie.Stephenson@crowedunlevy.com,
elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

US Trustee
USTPRegion07.HU.ECF@USDOJ.GOV

                                              /s/ Melissa A. Haselden         t
                                              MELISSA A. HASELDEN

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